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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                            §                  CHAPTER 11
                                                  §                CASE NO. 22-33553
ALEXANDER E. JONES                                §
    Debtor                                        §   Deposition Date: 12/6/24 at 10:00 a.m.
                                                  §   (Prevailing Colorado Local Time)
                                                  §
                                                  §   Contested Matter:
                                                  §   Trustee’s Expedited Motion for Entry of an
                                                  §   Order in Furtherance of the Sale of Assets of
                                                  §   Free Speech Systems, LLC (Doc. 915)

     NOTICE OF DEPOSITION OF JEFF TANENBAUM (In-Person and Via Zoom)

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil Procedure,

applicable to this proceeding under Rule 9014 of the Federal Rules of Bankruptcy Procedure, and

by agreement, Party-in-Interest, First United American Companies, LLC (“FUAC”), will conduct

the oral deposition of Jeff Tanenbaum on Friday, December 6, 2024 at 10:00 a.m. (prevailing

Colorado Local Time) and shall continue until completed at 25577 Conifer Road, #203, Conifer,

Colorado 80433, before a certified court reporter. Parties wishing to attend by Zoom may contact

undersigned counsel for the Zoom link.

         All parties are invited to attend and examine the witness. Such deposition is for discovery

purposes and, when taken, may be used as evidence in the trial or any evidentiary hearing in the

above-styled case.
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                                                             Respectfully submitted,

                                                              /s/ Walter J. Cicack
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                                                             Attorneys for First United American
                                                             Companies, LLC


                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on this 4th day of December, 2024.

                                                              /s/ Walter J. Cicack
                                                             Walter J. Cicack




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